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                                                United States District Court
                          SOUTHERN DISTRICT OF FLORIDA – MIAMI DIVISION
ARWIN NICOLAS ZAPATA CARRERO and all others
similarly situated under 29 U.S.C. 216(b),       DEFENDANT PRIETO’S EXHIBIT LIST

                       Plaintiff,                                       CASE NO.: CASE NO.: 17-20608-CIV-JAL
            vs.

SANABI INVESTMENTS LLC d/b/a OSCAR’S
MOVING & STORAGE,
SAADY BIJANI a/k/a SANDY BIJANI,
HANIN PRIETO
              Defendants.

                                       PLAINTIFFS’ ATTORNEY                     DEFENDANT’S ATTORNEY

                     J.H. ZIDELL, ESQ.                                          MARK SCHWEIKERTO, ESQ.
PRESIDING JUDGE      J.H. ZIDELL, P.A.                                          ATTORNEY FOR HANIN PRIETO
                     300-71ST STREET                                            SCHWIKERT LAW
HONORABLE            SUITE 605                                                  90 SW 3RD STREET, 700B
JUDGE JOAN A. LENARD MIAMI BEACH, FL 33141                                      MIAMI, FLORIDA 33130
                     305-865-6766                                               (305) 926-9452
                     FAX: 305-865-7167                                          MARK@SCHWEIKERTLAW.COM
 TRIAL DATE(S)



                   PLAINTIFF
           DEF.                  DATE
PLF.       NO
                   OBJECTIONS   OFFERE            ADMITTED   ’’
NO                                D    MARKED                DESCRIPTION OF EXHIBITS

       1          UP, I, H                                   Payroll Itemization of Arwin Zapata
       2          R, I, H                                    Defendant Hanin Prieto’s 2015 Tax Return
       3          R,H,I                                      Defendant Hanin Prieto’s 2016 Tax Return
       4          R,H,I                                      Defendant Hanin Prieto’s 2017 Tax Return
       5          R,H,I                                      Defendant Hanin Prieto’s 2018 Tax Return
                                                             DEFENDANT PRIETO RESERVES THE RIGHT TO
                                                             INTRODUCE ANY DOCUMENTS PRODUCED DURING
                                                             DISCOVERY IN THIS CASE.
                                                             DEFENDANT PRIETO RESERVES THE RIGHT TO
                                                             INTRODUCE ANY EXHIBITS LISTED ON PLAINTIFF’S
                                                             EXHIBIT LIST, WITHOUT WAIVING ANY OBEJCTIONS.
                                                             DEFENDANT PRIETO RESERVES THE RIGHT TO
                                                             INTRODUCE ANY EXHIBITS IN ANY DEPOSITIONS
                                                             TAKEN IN THIS CASE.
                                                             ALL REBUTTAL AND IMPEACHMENT EXHIBITS.
